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     LLC, Cathedral Shangrila LLC,
10   Nido di Stelle LLC, and ILU LLC
11                           IN THE UNITED STATES DISTRICT COURT
12
                                   FOR THE DISTRICT OF ARIZONA
13
14      Phong Thanh Huynh,                         No. CV-23-08622-PCT-JJT
15
                              Plaintiff,           Declaration of Alissa Chiaravanond in
16                                                 Support of Motion to Supplement Record
                       v.                          Re: Defendants’ Opposition to Plaintiff’s
17                                                 Motion to Modify Receivership Order
18      Alissa Chiaravanond, et. al,

19                            Defendants
20
21
            I, Alissa Chiaravanond, declare as follows:
22
            1.      I am over the age of 18 years and make this declaration voluntarily.
23
            2.      I have personal knowledge of the statements made in this declaration.
24
            3.      On March 20, 2025, I received confirmation from my insurance broker that
25
     an insurance policy had been issued, effective March 19, 2025, for the property located at
27
     288 Back ‘O Beyond Circle (the “Back ‘O Beyond Property”) with Evanston Insurance
28
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 1 Company (the “Back ‘O Beyond Policy”). A true and correct copy of the Back ‘O Beyond
 2 Policy is attached hereto at Exhibit 1.
 3         4.     The Back ‘O Beyond Policy does not include wildfire coverage. However,
 4 the Back ‘O Beyond Policy includes Wildfire Defense Services coverage to combat any
 5 potential threat included with the Back ‘O Beyond Policy, and I continue to explore options
 6 for policies that include wildfire coverage.
 7         5.     I have also confirmed with Isa Cooley, who works for the property
 8 management company that manages the Back ‘O Beyond Property, that it is doing well and
 9 the utilities accounts associated with it are paid current and in good standing. A true and
10 correct copy of my correspondence with Isa Cooley is attached hereto at Exhibit 2.
11         6.     I continue to cooperate with Keith Bierman, the Senior Managing Director
12 of MCA Financial Group, to help manage the Sedona properties.
13
14         I declare under penalty of perjury this ____ day of April, 2025, that the foregoing is
15 true and correct.
16
17                                            __________________________
                                              Alissa Chiaravanond
18
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28

                                                  2
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               I, Alissa Chiaravanond, declare as follows:
               1. I am over the age of 18 years and make this
         declaration voluntarily.
               2. I have personal knowledge of the statements made in
         this declaration.
               J. On March 20, 2025, I received confirmation from my
         insurance broker that an insurance policy had been issued,
         effective March 19, 2025, for the property located at 288
         Back 'O Beyond Circle (the "Back 'O Beyond Property")
         with Evanston Insurance Company (the "Back 'O Beyond
         Policy"). A true and correct copy of the Back 'O Beyond
         Policy is attached hereto at Exhibit I.
               4. The Back 'O Beyond Policy does not include
         wildfire coverage. However, the Back 'O Beyond Policy
         includes Wildfire Defense Services coverage to combat any
         potential threat included with the Back 'O Beyond Policy,
         and I continue to explore options for policies that include
         wildfire coverage.
               s. I have also confinned with Isa Cooley, who works
         for the property management company that manages the
         Back 'O Beyond Property, that it is doing well and the
         utilities accounts associated with it are paid current and in
         good standing. A true and correct copy of my
         correspondence with Isa Cooley is attached hereto at
         Exhibit 2.
               6. I continue to cooperate with Keith Bierman, the
         Senior Managing Director of MCA Financial Group, to
         help manage the Sedona properties.

             I declare under penalty of perjury this         ~ day of
         April, 2025, that the foregoing is true and


                                     -
                                         Alissa Chiaravanond

         I
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